Case 2:18-cv-09543-JFW-SS Document 38 Filed 01/25/19 Page 1 of 3 Page ID #:445




  1 Brent H. Blakely (SBN 157292)
    bblakely@blakelylawgroup.com
  2
    BLAKELY LAW GROUP
  3 1334 Parkview Avenue, Suite 280
  4
    Manhattan Beach, California 90266
    Telephone: (310) 546-7400
  5 Facsimile: (310) 546-7401
  6 Attorneys for Defendant
  7 Phil Brown
  8
                               UNITED STATES DISTRICT COURT
  9
                           CENTRAL DISTRICT OF CALIFORNIA
 10
 11 STEPHAN PERRY, an individual,           Case No. 2:18-cv-09543 JFW (SSX)
 12                                         DECLARATION OF PHIL BROWN IN
                  Plaintiff,
 13                                         SUPPORT OF: 1) SPECIAL MOTION
                                            TO STRIKE (CAL. CODE CIV. PROC.
 14          v.
                                            § 425.16) OR, ALTERNATIVELY, TO
 15 PHIL BROWN, an Individual, and          DISMISS (FRCP 12(b)(6)), (ECF NO.
                                            36); 2) MOTION TO DISMISS FOR
 16 DOES 1 through 10, inclusive,           LACK OF PERSONAL
 17                                         JURISDICTION (ECF NO. 37)
                   Defendant.
 18                                          Date:        February 25, 2019
 19                                          Time:        1:30 p.m.
                                             Location:    Courtroom 7A
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                                                    Hon. John F. Walter
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Case 2:18-cv-09543-JFW-SS Document 38 Filed 01/25/19 Page 2 of 3 Page ID #:446




  1                          DECLARATION OF PHIL BROWN
  2        I, Phil Brown, declare:
  3        1.      I am an individual residing in Nashville, Tennessee, and am the
  4 Defendant in this action. I make this declaration based on my own personal
  5 knowledge and, if called and sworn as a witness, I could and would competently
  6 testify hereto.
  7        2.      I have been a classically trained musician and songwriter since my
  8 childhood. I joined the band Little Feat in the early 1980’s as Lowell George’s
  9 successor on guitar and vocals. My songs have been recorded by Cher, Pat Benatar,
 10 Kim Carnes, Kix, Bonnie Tyler, and many others.
 11        3.      In or around 1990 I was introduced to Steve Perry by his manager, Bob
 12 Caballo, who also managed Little Feat, Earth Wind and Fire, Weather Report, and
 13 other bands.
 14        4.      In or around 1990 Perry and myself co-authored three songs together.
 15 We co-wrote the first three songs: Can’t Push the River, Somebody Somewhere, and
 16 Remarkable. I wrote a fourth song, It’s Not Far Off, which Perry also provided the
 17 vocals. (“Brown/Perry Songs”) Both Perry and I provided vocals on the
 18 Brown/Perry songs; while I performed guitar, bass and percussion on the songs. The
 19 Brown/Perry songs were co-produced by both Perry and I. I always have maintained
 20 both creative and physical control over the four Brown/Perry songs.
 21        5.      For the past six years I have lived in Nashville Tennessee. Prior to living
 22 in Tennessee, I resided in Austin Texas and Denver Colorado for approximately eight
 23 years. During that time, and continuing up to today, I do not own any property in
 24 California, conduct business in California, record songs in California, or otherwise
 25 have any significant contact with California.
 26        6.      Brenda Bann is my girlfriend; she has never been my business manager.
 27 Ms. Bann is not my business partner, does not have authority to bind me in
 28 transactions with 3rd parties, and does not exercise joint ownership and/or control over
                                                 2
                                     DECLARATION OF PHIL BROWN
Case 2:18-cv-09543-JFW-SS Document 38 Filed 01/25/19 Page 3 of 3 Page ID #:447
